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6                              IN THE UNITED STATES DISTRICT COURT
7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
8                                            OAKLAND DIVISION
9
     ENLORA NEWKIRK,                                    Case No.: 4:16-CV-05691-SBA
10

11                             Plaintiff,
                                                        NOTICE OF SETTLEMENT WITH
12          v.                                          DEFENDANT CAPITAL ONE BANK, N.A.
13
      EXPERIAN INFORMATION SOLUTIONS,
14   INC.; et. al.,

15

16
                               Defendants.

17

18

19   TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20          PLEASE TAKE NOTICE THAT plaintiff Elnora Newkirk and defendant Capital One,
21   National Association, by and through their respective counsel of record, have reached a
22   settlement in principle of the above captioned case and are in the process of documenting said
23
     settlement.
24

25
                                                            Sagaria Law, P.C.
26   Dated: January 2, 2017                                 /s/ Elliot Gale
                                                            Elliot Gale
27                                                          Attorneys for Plaintiff
28




                                             NOTICE OF SETTLEMENT - 1
